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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )       No. 22-cr-15 (APM)
                                              )
       JOSEPH HACKETT,                        )
                                              )
                       Defendant.             )

                         JOSEPH HACKETT’S REPLY TO ECF 392
                            AND ADDITIONAL OBJECTIONS

       Defendant Joseph Hackett, by and through his undersigned counsel, hereby submits this

reply to the government’s opposition to his omnibus motions in limine. Additionally, as Mr.

Hackett, through counsel, continued to review transcripts of the Rhodes trial, he identified

additional objections that he wishes to raise with the Court at the final pretrial conference on

Wednesday, November 23, 2022.

       I.      Summary Exhibits, FRE 1006

       Regarding summary exhibits, the D.C. Circuit is clear that

               [f]or a summary of documents to be admissible, the documents
               must be so voluminous as to make comprehension by the jury
               difficult and inconvenient; the documents themselves must be
               admissible; the documents must be made reasonably available for
               inspection and copying; the summary must be accurate and
               nonprejudicial; and the witness who prepared the summary should
               introduce it.

United States v. Fahnbulleh, 752 F.3d 470, 479 (D.C. Cir. 2014)(citing United States v.

Hemphill, 514 F.3d 1350, 1358 (D.C. Cir. 2008). Mr. Hackett challenges the government’s

assertion that its compilation exhibits are accurate, nonprejudicial, and that the underlying

documents are “so voluminous as to make comprehension by the jury difficult and

inconvenient.” Moreover, the government’s compilation exhibits contain argument, reflecting
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the government’s theory of how the evidence connects and suggesting the inferences it wishes

the jury to draw from the underlying evidence, rather than a true summary of voluminous

records. Lastly, the government’s compilation exhibits, as used in the Rhodes trial through

various witnesses, operates to lead the witness rather than elicit facts in a proper direct

examination, question-and-answer format.

        Rule 1006 is an exception to the best evidence rule, and, as such, it operates as a

substitute to prove the underlying content of voluminous records. See United States v. Weaver,

281 F.3d 228 (D.C. Cir. 2002). Because a summary is accepted by the Court as substantive

evidence, Mr. Hackett asks the Court to scrutinize the government’s montage and compilation

exhibits with particular care. The government is using documentary-style animation and

compilation to highlight select excerpts, suggest inferences, make argument, and falsely imply

cohesion where very little existed in reality, particularly as it pertains to Mr. Hackett. In short,

through these montage exhibits, the government is presenting closing argument during its

opening statement, and repeatedly throughout its case in chief as it utilizes these exhibits with

various witnesses.

        By way of just a few additional examples of problematic content in the government’s

compilation, or montage, exhibits, Mr. Hackett points to the following from Government Exhibit

1500:

   -    A “key” that appears in the bottom left corner of most of the beginning slides that

        identifies terms chosen by the government and their corresponding color code: QRF

        (orange), leadership (green), stack 1 (yellow), Dolan/Harrelson (blue), stack 2 (purple).

        Nothing about this key is a true summary as contemplated by FRE 1006. By color




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    coding certain messages, movements, or other evidence, the government is directing the

    jurors to draw certain inferences and conclusions.

-   At the 2 minute, 30 second mark, the screen shows a yellow trail on a map to the left side

    of the slide and to the right is a list of people, accompanied by a small “headshot” type

    photo, the government alleges are part of stack 1, which has been color coded yellow.

    Directly under the list of “stack” 1 individuals, the government excerpts a portion of a

    Zello chat where co-defendant Jessica Watkins says, “we have a good group. We’ve got

    about 30, 40 of us. We’re sticking together and sticking to the plan.” This slide is

    problematic for a variety of reasons.

       o First, it creates the misimpression that all of those people outlined above the

           statement transcribed from Watkins’s Zello chat, are either a part of, or otherwise

           aware of, the fact that Watkins was speaking with strangers on the walkie-talkie

           type application.

       o Second, at this point, 1:50 p.m. on January 6, 2021, the group is walking from the

           Ellipse to the Capitol; at the point depicted at the 2 minute, 30 second mark, that

           group of individuals is not yet at the Capitol, or even on the Capitol grounds. The

           government claims that a group of individuals marched in “stack formation” up

           the East steps of the capitol; Mr. Hackett objects to the use of the term “stack

           formation,” but to the extent the court overrules that, the only evidence that even

           arguably supports the use of that term is the image of several individuals walking

           up the stairs on the East side of the Capitol in a straight-ish line. There is no

           evidence – none – to suggest that any individuals walked in “stack formation”

           from the ellipse to the Capitol or at any other point in time. The government’s



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               exhibit, however, creates the impression that “stack 1” (color coded in yellow)

               was moving in such a way as to warrant use of the term “stack 1” at the time Ms.

               Watkins made the ascribed statement on the Zello application.

       At the final pretrial conference, Mr. Hackett can point to numerous other examples from

the government’s compilation exhibits that demonstrate 1) they are not proper summaries as

contemplated by FRE 1006, and 2) they are prejudicial, argumentative, and suggest unfair

inferences. Moreover, because they contain leading elements (e.g., highlighting certain

individuals through outlines or adjusting the lighting from the original video, use of arrows or

other movement elements, etc.), Mr. Hackett objects to the use of these exhibits as the primary

tool on direct examination. They may be appropriate as demonstratives, but only after the

government has otherwise elicited the evidence through admissible testimony or exhibits.

       II.     Co-Conspirator Statements, FRE 801(d)(2)(E)

       The government cites principally to Bourjaily v United States, 483 U.S. 171 (1987) in

arguing that out-of-court statements made prior to December 19, 2020, are admissible as non-

hearsay statements of co-conspirators pursuant to Federal Rule of Evidence 801(d)(2)(E). The

D.C. Circuit has had occasion to examine admissibility of co-conspirator statements after the

Supreme Court’s ruling in Bourjaily. See, e.g., United States v. Gewin, 471 F.3d 197 (D.C. Cir.

2006). There, this Circuit said the following:

               Rule 801(d)(2)(E) authorizes the admission of an out-of-court
               statement ‘by a coconspirator of a party during the course and in
               furtherance of the conspiracy.’ Where a defendant objects to such
               an admission, however, the district court must find by a
               preponderance of the evidence that a conspiracy existed and that
               the defendant and declarant were members of that conspiracy.
               Bourjaily v. United States, 483 U.S. 171, 175-76, 107 S.Ct. 2775,
               97 L.Ed.2d 144 (1987). Although Bourjaily allowed courts to
               consider the content of the out-of-court statements in making this
               determination, id. at 181, 107 S.Ct. 2775, and left open whether

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               such statements alone could support the necessary finding, id., our
               circuit has held that the finding must rest on some independent
               evidence of the conspiracy. United States v. Gatling, 96 F.3d
               1511, 1520-21 (D.C. Cir. 1996)(emphasis in original). 1

       The Gewin Court reaffirmed this Circuit’s requirement, as expressed in Gatling, that the

Court find the existence of a conspiracy based on something other than just the statement itself.

The government notes that the Court ruled in the Rhodes trial that the government had adduced

sufficient evidence to determine that the conspiracy began in November 2020; however, a

finding regarding the existence of a conspiracy is only one prong of what the Court must find

before ruling on the admissibility of co-conspirator statements. The court must also make a

finding that “the defendant and declarant were members of that conspiracy.” Gewin, 471 F.3d at

201 (internal citations omitted). In its opposition, the government points to nothing to

demonstrate by a preponderance of the evidence that Mr. Hackett was a part of any conspiracy in

November and mid-December. 2

       Prior to the Gewin decision – but after the Bourjaily case in the Supreme Court - this

Circuit decided United States v. Beckham, 968 F.2d 47 (D.C. Cir. 1992), and also reaffirmed

Gatlin’s requirement that the district court rely on more than the statement itself to make the

necessary findings regarding existence of the conspiracy. In doing so, the Beckham court

focused on whether independent evidence existed to show that the appellant was part of a




1
  The Gewin court goes on to hold that “the district court properly admitted out-of-court
statements upon finding a lawful joint enterprise” in declining to adopt appellant’s argument that
801(d)(2)(E) admissibility must be predicated upon a finding of an illegal venture or conspiracy.
Gewin, 471 F.3d at 202.
2
  Mr. Hackett does not concede that any evidence exists supporting the conclusion that he was a
part of any conspiracy; however, he acknowledges as a legal matter that, beginning on or about
December 19, 2020, there are facts to support a finding for admissibility of co-conspirator
statements.
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conspiracy and discussed the relationship between the appellant and the declarant. The Circuit

said the following:

                 The hearsay statement may be considered in finding that a
                 conspiracy existed, . . . but the statement may not be the sole basis
                 for such a ruling. Under our precedent, there must be independent
                 evidence of a conspiracy as well. But the independent evidence
                 here – mere physical proximity and friendship – does not provide
                 support for inferring that Monroe and Beckham ‘had the specific
                 intent to further [a] common unlawful objective.’

Beckham, 968 F.2d at 50-51(quoting United States v. Tarantino, 846 F.2d 1384, 1392 (D.C. Cir.

1988)(other internal citations omitted). The Beckham Court finds that “[t]he record simply

discloses no evidence – and certainly no evidence independent from the hearsay statement itself

– that would satisfy Rule 801(d)(2)(E)’s threshold requirement that [appellant] and [declarant] be

co-conspirators.” Id. at 51. 3

         For the reasons cited herein, in Mr. Hackett’s Omnibus Motions in Limine, and any

arguments set forth at the final pretrial conference, Mr. Hackett moves the court for a ruling in

limine that out-of-court statements prior to December 19, 2020, and after January 6, 2021, are

not admissible against him at trial.

         III.    Mr. Hackett’s Objections for Discussion at the Final Pretrial Conference

         Mr. Hackett provides the following list of objections he wishes to discuss at the final

pretrial conference. For ease of reference, he has also included those objections already

submitted in his Omnibus Motions in Limine, ECF 387.

          Objection                                       When/How Raised

    1.    Notebook page with handwritten note,            Joined ECF 217 (Caldwell)
          “death list,” recovered from Caldwell’s
          residence


3
 The Beckham Court went on to find that the statements at issue on appeal were properly
admitted under a different hearsay exception, 801(d)(2)(B), adoptive admission.
                                                    6
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2.     Caldwell’s attempted purchase of a .380        Joined ECF 217 (Caldwell)
       caliber handgun
3.     Evidence regarding Caldwell’s alleged          Joined ECF 217 (Caldwell)
       attempt to have another person build
       firearms
4.     Any evidence involving firearms,               Joined ECF 217 (Caldwell)
       ammunition, and/or accessories by Rhodes
       or others after January 6, 2021
5.     Evidence of alleged explosives possessed       Joined ECF 217 (Caldwell)
       by unindicted co-conspirator Jeremy Brown
6.     Evidence of sawed-off shotguns and             Joined ECF 217 (Caldwell)
       grenades allegedly recovered from Jeremy
       Brown’s residence and/or Recreational
       Vehicle on or about September 1, 2021
7.     Evidence regarding “bomb making                Joined ECF 217 (Caldwell)
       instructions” recovered from Jessica
       Watkins’s residence
8.     Witness narration of Video and                 Joined ECF 386 (Minuta)
       Documentary Evidence
9.     Government Montage or Compilation              ECF 387 (Hackett)
       Exhibits, to include, but not limited to
       Exhibits 1500-1510, 1515-16, 1503
10.    Out-of-Court statements by anyone other        ECF 387 (Hackett)
       than Mr. Hackett prior to December 19,
       2021, and after January 6, 2021
11.    Request for a limiting instruction that some   ECF 387 (Hackett)
       evidence be considered for certain alleged
       conspiracies only
12.    Statements between Stewart Rhodes and          ECF 387 (Hackett)
       Kellye SoRelle, or others in Rhodes’s
       “inner circle”
13.    Use of the term “Stack”                        ECF 387 (Hackett)

14.    Agent testimony or opinion regarding           ECF 387 (Hackett)
       military procedures or terminology and any
       testimony comparing individuals’ conduct
       on January 6, 2021, to military conduct
15.    Agent Moore’s testimony regarding              ECF 387 (Hackett)
       “commander intent”
16.    Physical firearms or photographs of            ECF 387 (Hackett)
       firearms seized, unless the government can
       lay the appropriate foundation that a
       particular firearm was, in fact, transported
       to the QRF



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 17.    Prohibit the government from making             ECF 387 (Hackett)
        inappropriate argument during its opening
        statement
 18.    Prohibit the government’s use of any            November 21, 2022, Hackett Reply
        summary exhibits during its opening
        statement
 19.    Preclude testimony or argument regarding        ECF 387 (Hackett)
        John Wilkes Booth and “sic semper
        tyrannis”
 20.    Testimony that the House Recess                 ECF 387 (Hackett)
        Emergency Provision was enacted in
        response to 9/11/01
 21.    Request for sequestration of all government     ECF 387 (Hackett)
        agents beyond the lead case agent who is
        permitted to remain in the courtroom
 22.    Recalling the same witness multiple times       ECF 387 (Hackett)

 23.    Permission to conduct limited re-cross, if      ECF 387 (Hackett)
        warranted by the government’s re-direct
        examination
 24.    Preclude reference to or testimony              November 21, 2022, Hackett Reply
        regarding September 2020 Combat Arts
        Training
 25.    Request to limit government re-direct           November 21, 2022, Hackett Reply
        examination to new, responsive material (as
        opposed to repeating responsive material
        that was elicited on direct examination)
 26.    Preclude SA Hilgeman (or any agent) from        November 21, 2022, Hackett Reply
        testifying that Mr. Hackett was at the
        Comfort Inn hotel on 1/7/21 on the basis of
        cell site location data from Agent Banks’s
        report (10/17/22 AM Tr. at 3553)
 27.    Preclude government witnesses from              November 21, 2022, Hackett Reply
        opining or speculating what a declarant
        “meant” when he/she wrote any given
        message

       IV.     Request to Suspend Use of Ankle Monitor for the Duration of Trial

       Mr. Hackett requests the Court enter an order that temporarily suspends the use of his

ankle monitor during trial. He understands that the Court suspended use of Mr. Caldwell’s ankle

monitor during the Rhodes trial, and Mr. Hackett asserts that it is likewise appropriate to do so

for him. Pretrial Service Officers maintain that continuing electronic monitoring via ankle

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bracelet throughout the trial is necessary; however, Mr. Hackett has at all times been in

compliance with the terms of supervised release, and he will be present in the courtroom during

trial. There is no need to continue location monitoring during trial, and the monitor could

become an issue with getting into the Courthouse in an efficient and timely manner.



                                                     Respectfully submitted,



                                                     ______/s/ Angela Halim__________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
Court using CM/ECF. I also certify that the foregoing is being served this day on all counsel of
record, via transmission of Notices of Electronic Filing generated by CM/ECF.




                                                             ______/s/ Angela Halim ________
                                                             Angela Halim, Esq.

Dated: November 21, 2022




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